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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
                            BRUNSWICK DIVISION

 TREMAR HARRIS,

               Plaintiff,

 v.
                                                            Civil Action No.
 OFFICER WILLIAM RENTZ,                                        2:24-CV-9
 individually, OFFICER JOHN DOE 1-3,
 individually,

               Defendants.


                    ANSWER OF DEFENDANT WILLIAM RENTZ


       Defendant William Rentz files his answer to Plaintiff’s Complaint. Dkt. 1.

                                    FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                  SECOND DEFENSE

       Plaintiff has not been subjected to the deprivation of any rights, privileges, or

immunities secured by the Constitution or the laws of the United States. Plaintiff was, at

all times, afforded all constitutional rights and protections to which he was entitled under

state and federal law.

                                    THIRD DEFENSE

       At all times pertinent to this suit, Defendant Rentz acted in the good faith

execution of his duties and upon the reasonable belief that his actions were appropriate




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and necessary. Defendant Rentz, therefore, is immune from some or all of Plaintiff’s

claims.

                                   FOURTH DEFENSE

       Plaintiff’s federal claims against Defendant Rentz are barred because he failed to

exhaust his available administrative remedies, as required by the Prison Litigation

Reform Act, 42 U.S.C. § 1997e, et seq.

                                    FIFTH DEFENSE

       Plaintiff’s claims brought under federal law against Defendant Rentz are barred

by qualified immunity.

                                    SIXTH DEFENSE

       Plaintiff’s state law claims against Defendant Rentz are barred by official

immunity.

                                  SEVENTH DEFENSE

       No action or inaction on the part of Defendant Rentz was the proximate cause of

any alleged injuries or damage suffered by Plaintiff.

                                   EIGHTH DEFENSE

       Plaintiff’s claims are barred by his own conduct, or the conduct of others, which

was the cause in fact or proximate cause of his alleged injuries or damages.

                                    NINTH DEFENSE

       There is no basis for any award of attorney’s fees or punitive damages against

Defendant Rentz in this action.




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                                  TENTH DEFENSE

      Defendant Rentz responds to the specific allegations in Plaintiff’s Complaint as

follows:

                                Jurisdiction and Venue

      1.     Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 1 of Plaintiff’s Complaint;

thus, they are denied.

      2.     Defendant Rentz admits the allegations contained in Paragraph 2 of

Plaintiff’s Complaint.

      3.     Defendant Rentz admits the allegations contained in Paragraph 3 of

Plaintiff’s Complaint.

      4.     Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 4 of Plaintiff’s Complaint;

thus, they are denied.

      5.     Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 5 of Plaintiff’s Complaint;

thus, they are denied.

      6.     Defendant Rentz admits only that the events underlying Plaintiff’s claims

occurred in Appling County, Georgia. Defendant Rentz denies the remaining allegations

contained in Paragraph 6 of Plaintiff’s Complaint.

      7.     Defendant Rentz admits the allegations contained in Paragraph 7 of

Plaintiff’s Complaint.

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      8.     In response to Paragraph 8 of Plaintiff’s Complaint, Defendant Rentz

admits only that venue and jurisdiction are proper in the United States District Court for

the Southern District of Georgia, Brunswick Division. Defendant Rentz denies the

remaining allegations contained in Paragraph 8 of Plaintiff’s Complaint.

                                          Facts

      9.     In response to Paragraph 9 of Plaintiff’s Complaint, Defendant Rentz

admits that Tremar Harris was a pre-trial detainee in the Appling County Jail on January

29, 2022. Defendant Rentz admits that Plaintiff was being held in the segregation wing of

the Appling County Jail—characterized as “solitary confinement”—because of the erratic

behavior that Plaintiff exhibited during his incarceration. Defendant Rentz denies any

remaining allegations contained in Paragraph 9 of Plaintiff’s Complaint.

      10.    Defendant Rentz denies the allegations contained in Paragraph 10 of

Plaintiff’s Complaint.

      11.    Defendant Rentz denies the allegations contained in Paragraph 11 of

Plaintiff’s Complaint.

      12.    Defendant Rentz denies the allegations contained in Paragraph 12 of

Plaintiff’s Complaint.

      13.    Defendant Rentz denies the allegations contained in Paragraph 13 of

Plaintiff’s Complaint.

      14.    Defendant Rentz admits the allegations contained in Paragraph 14 of

Plaintiff’s Complaint.



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      15.    Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 15 of Plaintiff’s Complaint;

thus, they are denied.

      16.    Defendant Rentz denies the allegations contained in Paragraph 16 of

Plaintiff’s Complaint.

      17.    Defendant Rentz denies the allegations contained in Paragraph 17 of

Plaintiff’s Complaint.

      18.    Defendant Rentz denies the allegations contained in Paragraph 18 of

Plaintiff’s Complaint.

      19.    Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 19 of Plaintiff’s Complaint;

thus, they are denied.

      20.    Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 20 of Plaintiff’s Complaint;

thus, they are denied.

      21.    Defendant Rentz denies the allegations contained in Paragraph 21 of

Plaintiff’s Complaint.

      22.    Defendant Rentz denies the allegations contained in Paragraph 22 of

Plaintiff’s Complaint.

      23.    Defendant Rentz admits the allegations contained in Paragraph 23 of

Plaintiff’s Complaint.



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                                  Count One
     Cruel and Unusual Punishment in Violation of the Fourteenth Amendment

       24.    Defendant Rentz incorporates by reference his responses to Paragraphs 1

through 23 of Plaintiff’s Complaint as if set forth herein.

       25.    Defendant Rentz admits the allegations contained in Paragraph 25 of

Plaintiff’s Complaint.

       26.    Defendant Rentz admits the allegations contained in Paragraph 26 of

Plaintiff’s Complaint.

       27.    Defendant Rentz admits the allegations contained in Paragraph 27 of

Plaintiff’s Complaint.

       28.    Defendant Rentz admits the allegations contained in Paragraph 28 of

Plaintiff's Complaint, but denies any such conduct on his part.

       29.    Defendant Rentz admits the allegations contained in Paragraph 29 of

Plaintiff’s Complaint, but denies any such conduct on his part.

       30.    Defendant Rentz denies the allegations contained in Paragraph 30 of

Plaintiff’s Complaint.

       31.    Defendant Rentz denies the allegations contained in Paragraph 31 of

Plaintiff’s Complaint.

       32.    Defendant Rentz denies the allegations contained in Paragraph 32 of

Plaintiff’s Complaint.

       33.    Defendant Rentz denies the allegations contained in Paragraph 33 of

Plaintiff’s Complaint.


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       34.     Defendant Rentz denies the allegations contained in Paragraph 34 of

Plaintiff’s Complaint.

       35.     Defendant Rentz denies the allegations contained in Paragraph 35 of

Plaintiff’s Complaint.

       36.     Defendant Rentz denies the allegations contained in Paragraph 36 of

Plaintiff’s Complaint.

       37.     Defendant Rentz denies the allegations contained in Paragraph 37 of

Plaintiff’s Complaint.

       38.     Defendant Rentz denies the allegations contained in Paragraph 38 of

Plaintiff’s Complaint.

                                        Count Two
             Failure to Intervene in Violation of the Fourteenth Amendment

       39.     Defendant Rentz incorporates by reference his responses to Paragraphs 1

through 23 of Plaintiff’s Complaint as if set forth herein.

       40.     Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 40 of Plaintiff’s Complaint;

thus, they are denied.

       41.     Defendant Rentz is without sufficient information or knowledge upon

which to admit or deny the allegations contained in Paragraph 41 of Plaintiff’s Complaint;

thus, they are denied.

       42.     Defendant Rentz denies the allegations contained in Paragraph 42 of

Plaintiff’s Complaint.


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       43.    Defendant Rentz denies the allegations contained in Paragraph 43 of

Plaintiff’s Complaint.

       44.    Defendant Rentz denies the allegations contained in Paragraph 44 of

Plaintiff’s Complaint.

       45.    Defendant Rentz denies the allegations contained in Paragraph 45 of

Plaintiff’s Complaint.

       46.    Defendant Rentz denies the allegations contained in Paragraph 46 of

Plaintiff’s Complaint.

       47.    Defendant Rentz denies the allegations contained in Paragraph 47 of

Plaintiff’s Complaint.

       48.    Defendant Rentz denies the allegations contained in Paragraph 48 of

Plaintiff’s Complaint.

       49.    Defendant Rentz denies the allegations contained in Paragraph 49 of

Plaintiff’s Complaint.

       50.    Defendant Rentz denies the allegations contained in Paragraph 50 of

Plaintiff’s Complaint.

       51.    Defendant Rentz denies the allegations contained in Paragraph 51 of

Plaintiff’s Complaint.

                                       Count Three
                         Assault and Battery (O.C.G.A. § 51-1-13/14)

       52.    Defendant Rentz incorporates by reference his responses to Paragraphs 1

through 23 of Plaintiff’s Complaint as if set forth herein.


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       53.    Defendant Rentz denies the allegations contained in Paragraph 53 of

Plaintiff’s Complaint.

       54.    Defendant Rentz denies the allegations contained in Paragraph 54 of

Plaintiff’s Complaint.

       55.    Defendant Rentz denies the allegations contained in Paragraph 55 of

Plaintiff’s Complaint.

       56.    Defendant Rentz denies the allegations contained in Paragraph 56 of

Plaintiff’s Complaint.

       57.    Defendant Rentz denies the allegations contained in Paragraph 57 of

Plaintiff’s Complaint.

       58.    Defendant Rentz denies the allegations contained in Paragraph 58 of

Plaintiff’s Complaint.

       59.    Defendant Rentz denies the allegations contained in Paragraph 59 of

Plaintiff’s Complaint.

                                          Count Four
                         Intentional Infliction of Emotional Distress

       60.    Defendant Rentz incorporates by reference his responses to Paragraphs 1

through 23 of Plaintiff’s Complaint as if set forth herein.

       61.    Defendant Rentz denies the allegations contained in Paragraph 61 of

Plaintiff’s Complaint.

       62.    Defendant Rentz denies the allegations contained in Paragraph 62 of

Plaintiff’s Complaint.


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       63.    Defendant Rentz denies the allegations contained in Paragraph 63 of

Plaintiff’s Complaint.

       64.    Defendant Rentz denies the allegations contained in Paragraph 64 of

Plaintiff’s Complaint.

                                    ELEVENTH DEFENSE

       Defendant Rentz denies that Plaintiff is entitled to the relief requested in the

“Wherefore” section of his Complaint.

                                    TWELFTH DEFENSE

       Defendant Rentz denies any and all allegations contained in Plaintiff’s Complaint

not specifically admitted herein.

                                      JURY DEMAND

       Defendant Rentz demands a trial by jury.

       Wherefore, Defendant Rentz prays that Plaintiff’s Complaint be dismissed with

prejudice, that the prayers for relief in his Complaint be denied, and that all costs of this

action be cast against Plaintiff.




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     Submitted this 23rd day of February, 2024.

                                          OLIVER MANER LLP

Post Office Box 10186                     /s/ Patrick T. O’Connor
Savannah, GA 31412                        PATRICK T. O’CONNOR
(T) 912 236-3311                          Georgia Bar No. 548425
(F) 912 236-8725
pto@olivermaner.com                       /s/ Ben T. Tuten
btuten@olivermaner.com                    BEN T. TUTEN
                                          Georgia Bar No. 299110

                                          Attorneys for Defendant Rentz




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                               CERTIFICATE OF SERVICE

       I hereby certify that I have this day served all parties in this case in accordance

with the directives from the Court Notice of Electronic Filing (“NEF”), which was

generated as a result of electronic filing, by e-notification and e-service to the following:

                                M. Waite Thomas, Esq.
                    TAYLOR ODACHOWSKI SCHMIDT & CROSSLAND, LLC
                               300 Oak Street, Suite 200
                             St. Simons Island, GA 31522
                                wthomas@tosclaw.com

                                Harry M. Daniels, Esq.
                         LAW OFFICES OF HARRY M. DANIELS, LLC
                               4751 Best Road, Suite 490
                                  Atlanta, GA 30337
                              daniels@harrymdaniels.com

       Submitted this 23rd day of February, 2024.

                                               OLIVER MANER LLP

 Post Office Box 10186                         /s/ Ben T. Tuten
 Savannah, GA 31412                            PATRICK T. O’CONNOR
 (T) 912 236-3311                              Georgia Bar No. 548425
 (F) 912 236-8725                              BEN T. TUTEN
 pto@olivermaner.com                           Georgia Bar No. 299110
 btuten@olivermaner.com
                                               Attorneys for Defendant Rentz




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